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                          UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

United States of America                         §
      Plaintiff                                  §
                                                 §
vs.                                              §     Case Number: SA:20-CR-00509(4)-OLG
                                                 §
(4) Omar Castaneda-Hernandez                     §
      Defendant



                  ORDER SETTING REARRAIGNMENT AND PLEA

           IT IS HEREBY ORDERED that the above entitled and numbered case is set for
02:30 PM, in Courtroom A, on the 2nd Floor of the United States Federal Courthouse, 262 W.
Nueva Street, San Antonio, TX on Wednesday, December 14, 2022.

             IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order
to counsel for defendant, the United States Attorney, U.S. Pretrial Services, United States
Probation Office, and any surety or custodian, if applicable. Further, counsel for the defendant
shall notify the defendant of this setting. If the defendant is on bond, he/she shall be present.


                  IT IS SO ORDERED this 8th day of December, 2022.



                                               ______________________________
                                               RICHARD B. FARRER
                                               UNITED STATES MAGISTRATE JUDGE
